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                                                                                              FILED




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF WYOMING                                      12:55 pm, 2/8/21
                                                                                  U.S. Magistrate Judge
RAYMOND CALDWELL,
                                                     Civil No. 20-CV-00064-NDF
Plaintiff,

vs.

TETON CLUB OWNERS ASS’N., INC.;
RAINTREE RESORTS MGMT. CO., LLC’
and JOHN DOES 1-10

Defendants.


______________________________________________________________________________

     ORDER GRANTING SECOND JOINT MOTION TO EXTEND DEADLINES
______________________________________________________________________________

        This matter is before the Court on the Parties’ Second Joint Motion to Extend Deadlines

[Doc. 22]. Having considered the Motion and finding good cause, the Court grants the Motion.

        NOW, THEREFORE, IT IS ORDERED that the Parties’ Second Joint Motion to Extend

Deadlines [Doc. 22] is GRANTED.

        IT IS FURTHER ORDERED that Defendants’ deadline for designating their expert

witnesses is 2/26/21. Plaintiff’s deadline for designating supplemental expert witnesses is

2/26/21. Defendants’ deadline for designating experts responsive to Plaintiff’s supplemental

experts is 3/26/21. The discovery deadline is 4/26/21. All other deadlines will be maintained as

originally scheduled.




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    DATED this 8th day of February, 2021.




                                      Kelly H
                                            H. Ran
                                               Rankin
                                                ankin
                                      United States Magistrate Judge




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